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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION
                                   (at Lexington)

  UNITED STATES OF AMERICA,                          )
                                                     )
          Plaintiff,                                 )     Criminal Action No. 5: 18-074-DCR
                                                     )
  V.                                                 )
                                                     )
  ALBERTO LOPEZ PANIAGUA,                            )       MEMORANDUM OPINION
  a/k/a BERTO,                                       )           AND ORDER
                                                     )
         Defendant.                                  )
                                   ***    ***        ***   ***

       United States Magistrate Judge Matthew A. Stinnett conducted a detention hearing on

January 23, 2019, and ordered that Defendant Alberto Lopez Paniagua be detained due to a

risk of non-appearance. [Record No. 10] Defendant Lopez-Paniagua then filed a motion to

revoke the detention order. [Record No. 12] After reviewing the evidence and the factors

listed in 18 U.S.C. § 3142(g), the Court concludes that the defendant’s motion to revoke his

order of detention should be denied. Simply put, there are no conditions of release that would

reasonably ensure the defendant’s appearance at trial.

                                                I.

       The defendant was charged in a criminal complaint with conspiracy to commit money

laundering, in violation of 18 U.S.C. § 1956(a)(1)(A) & (h). [Record No. 1] A grand jury

returned an indictment on February 7, 2019, charging the defendant with one count of

conspiracy to commit money laundering and one count of money laundering. [Record No. 38]

       Magistrate Judge Stinnett conducted a detention hearing on January 23, 2019, to

determine whether Lopez-Paniagua should be released from custody pending trial. [Record

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No. 10] The government argued that the detention was appropriate due to the defendant’s risk

of nonappearance and danger to the community. [Record No. 11, p. 1] Magistrate Judge

Stinnett concluded that the defendant was an “irremediable flight risk” and directed that he be

detained. [Id. at 4.] He explained that the United States did not prove by clear and convincing

evidence that the defendant posed a danger to another person or the community, but it

established that the defendant was a flight risk by a preponderance of the evidence. [Id. at 2.]

        Magistrate Judge Stinnett noted that the defendant had no connection to the

Commonwealth; minimum and sporadic contacts with the United States; and demonstrated a

history of traveling in and out of the country. Further, the larger implications of the alleged

crime created a risk of non-appearance. [Id. at 4.] Next, he concluded that there were no

conditions of release that could reasonably assure the defendant’s appearance at trial. [Id.]

Judge Stinnett explained that all of the defendant’s family was in Mexico, he obtained his

education in Mexico, he is an attorney in Mexico, and his community ties were to Mexico. [Id.

at 3.] Thus, the defendant did not have any connection to the Commonwealth of Kentucky.

[Id.] Magistrate Judge Stinnett also indicated that the defendant “clearly has the finances,

experience, and connections to easily travel outside of the United States.” [Id.] Likewise, the

defendant had inconsistent reasons for visiting this country. [Id.] Lastly, Magistrate Judge

Stinnett cited that the defendant’s charges are related to a larger organized drug related offense.

[Id.]

        Probation Officer Chad Moss, Immigration Officer Frank Keaton, and Special Agent

Troey Stout testified during the detention hearing. [Record No. 9] Officer Moss recommended

detention based on the defendant’s lack of ties to the Commonwealth and the United States.

He further opined that conditions of release would not prevent flight. Next, Officer Keyton
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testified that the defendant was in possession of two passports, one of which had expired.

According to Officer Keyton, the defendant had traveled to Mexico, Russia, the United Arab

Emirates, and possibly Turkey. Lastly, Agent Stout testified regarding the defendant’s arrest.

He explained that the defendant was in possession of over $170,000 in United States currency

when he was stopped by law enforcement. Agent Stout described that a confidential source

provided information that the defendant would be picking-up drug proceeds and traveling to

Kentucky.

                                               II.

       A party may file a motion for revocation of a detention order with the court having

original jurisdiction over the offense. 18 U.S.C. § 3145(b). This Court reviews a magistrate

judge’s detention order de novo. United States v. Yamini, 91 F. Supp. 2d 1125, 1128-29 (S.D.

Ohio 2000); United States v. Clark, 865 F.2d 1433, 1436 (4th Cir. 1989). The Court “should

review the evidence before the magistrate and make its own independent determination

whether the magistrate’s findings are correct, with no deference.” United States v. Koenig,

912 F.2d 1190, 1193 (9th Cir. 1990). And if the Court determines that a detention order is

necessary, it shall, inter alia, submit a written statement of the reasons for the detention. 18

U.S.C. § 3142 (i)(1).

                                              III.

       Following a review of the record and relevant information, the Court concludes that the

defendant is a flight risk and there are no conditions of release that will reasonably ensure his

appearance at trial. A defendant may be detained pending trial only when a judicial officer

“finds that no condition or combination of conditions will reasonably assure the appearance of

the person as required and the safety of any other person and the community.” 18 U.S.C. §
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3142(e). “The default position of the law . . . is that a defendant should be released pending

trial.” United States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010). The United States must prove

that no conditions of release can ensure the safety of the community and the defendant’s

appearance in court. Id. The government must prove the risk of non-appearance based on a

preponderance of the evidence. See United States v. Hazime, 762 F.2d 34, 37 (6th Cir. 1985);

United States v. Curry, 2006 U.S. Dist. LEXIS 49661 *1, *16 (E.D. Ky. 2006).

       Title 18 of the United States Code, section 3142(g), sets forth the factors for the Court

to consider in deciding whether to set conditions of release. They are:

              (1) the nature and circumstances of the offense charged, including
              whether the offense is a crime of violence, a violation of section 1591
              [18 USCS § 1591], a Federal crime of terrorism, or involves a minor
              victim or a controlled substance, firearm, explosive, or destructive
              device;
              (2) the weight of the evidence against the person;
              (3) the history and characteristics of the person, including--
                      (A) the person's character, physical and mental condition, family
                      ties, employment, financial resources, length of residence in the
                      community, community ties, past conduct, history relating to
                      drug or alcohol abuse, criminal history, and record concerning
                      appearance at court proceedings; and
                      (B) whether, at the time of the current offense or arrest, the
                      person was on probation, on parole, or on other release pending
                      trial, sentencing, appeal, or completion of sentence for an offense
                      under Federal, State, or local law; and
              (4) the nature and seriousness of the danger to any person or the
              community that would be posed by the person's release. In considering
              the conditions of release described in subsection (c)(1)(B)(xi) or
              (c)(1)(B)(xii) of this section, the judicial officer may upon his own
              motion, or shall upon the motion of the Government, conduct an inquiry
              into the source of the property to be designated for potential forfeiture or
              offered as collateral to secure a bond, and shall decline to accept the
              designation, or the use as collateral, of property that, because of its
              source, will not reasonably assure the appearance of the person as
              required.




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18 U.S.C. § 3142(g). “Consideration of these factors shall not be construed to modify or limit

the presumption of innocence.” Stone, 608 F.3d 939 at 946; 18 U.S.C. § 3142(j).

       The defendant argues that with a curfew, electronic monitoring, and travel restrictions

the presence of the defendant can be reasonably assured. [Record No. 12, p. 2] The

undersigned disagrees.

       The defendant is charged with conspiring to commit money laundering and money

laundering, but it was noted that the offenses charged are part of a larger criminal drug scheme.

The nature and circumstances of the offense clearly weigh in favor of detention. 18 U.S.C. §

3142(g)(1).

       The second factor is the weight of the evidence, while balancing the “factors to be

considered in determining whether there are conditions which will assure the appearance of

the accused and safety of the community.” Hazime, 762 F.2d at 37; 18 U.S.C. § 3142(g)(2).

There is a considerable amount of evidence regarding the defendant’s risk of non-appearance:

his lack of ties to the United States, his family in Mexico, and his financial resources to travel.

See United States v. Villegas, 2011 U.S. Dist. LEXIS 31774 *1, *27-28 (E.D. Tenn. 2011).

The weight of the evidence regarding risk of flight weighs in favor of detention.

       The history and characteristics of the defendant also weigh in favor of detention. 18

U.S.C. § 3142(g)(3). The defendant’s family ties, community ties, employment, and financial

ties are all to Mexico. The defendant is from Mexico, and his wife, mother, sister, and two

children all reside in Mexico. His job is based in Mexico and he allegedly has no family ties

to the United States. See Villegas, 2011 U.S. Dist. LEXIS 31774 at *24 (noting certain factors,

including that the defendant is from Mexico, had family in Mexico, and had the means to travel

back to Mexico, weighed in favor of detention); United States v. Koubriti, 2001 U.S. Dist.
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LEXIS 19823 *1, *19 (E.D. Mich. 2001) (discussing the defendant’s lack of family ties to the

jurisdiction as weighing in favor of detention). Further, the defendant’s frequency of travel

indicates that he possesses the financial resources to flee the country. See United States v.

Bikundi, 47 F. Supp. 3d 131, 137 (D.D.C. 2014) (concluding the defendant’s significant

foreign ties to her country of origin, including access to funds located outside of the United

States raised a concern about the defendant being a flight risk). While the defendant has

surrendered his passports, Agent Keyton testified that if the defendant was released, he could

return to Mexico without a passport. [Record No. 39, p. 4] The defendant was not on active

probation at the time of his arrest and does not appear to have any criminal history, weighing

against detention. 18 U.S.C. § 3142(g)(3)(b).

       Finally, the Court considers “the nature and seriousness of the danger to any person or

the community that would be posed by the person’s release.” 18 U.S.C. § 3142(g)(4).

Magistrate Judge Stinnett found that the government had not proven by clear and convincing

evidence that the defendant was a danger to another person or to the community. The

defendant notes that dangerousness was not an issue in their motion to revoke the detention

order. [Record No. 12] The government does not discuss the last factor in § 3142(g) in its

response to the defendant’s motion. [Record No. 39]

       The first three factors in 18 U.S.C. § 3142(g) support detaining the defendant before

trial because he poses a significant risk of non-appearance. The Court concludes that there are

no conditions of release that will reasonably assure the appearance of the defendant at trial.

Accordingly, it is hereby

       ORDERED that Defendant Alberto Lopez-Paniagua’s Motion to Revoke the Order of

Detention [Record No. 12] is DENIED.
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    Dated: February 12, 2019.




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